Case 16-17404-elf   Doc 107     Filed 08/07/19 Entered 08/07/19 08:19:58         Desc Main
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        IN THE UNITED STATES BAN.KRUPT<CY COURT FOR THE EASTERN
                             DISTRICT OF :PENNSYLVANIA


 In Re: DAV ID E. MOORE, JR.,                                 CHAPTER13


               Debtor                                       BANKRUPTCY NO.16-17404
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   ORDER SUS TAINING DEBTOR'S OBJECTliONS TO PROOFS OF CLAIM ("POC")
     NOS. 4-1 AND 5-1 FILED BY NEW CASTLE COUNTY, DELAWARE ("County")


         AND NOW, this 7th day of August, after a hearing, and for the reasons stated in

   court, it is hereby ORDERED that the Debtor's Objections to the Proofs of Claim of New

   Castle County, Delaware (Claim Nos. 4-1 and 5-1) are OVERRULED WITHOUT

   PREJUDICE.




                                          ______________________________________
                                          ERIC L. FRANK
                                          U.S. BANKRUPTCY JUDGE
